         Case 4:12-cr-00142-BSM Document 107 Filed 07/22/13 Page 1 of 1
                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS


UNITED STATES OF AMERICA

V.                                                           4:12CR00142-02 JMM

RANDALL TREMAYN ROBINSON


                                             ORDER

       This action came on for trial July 15, 2013, before the Court and a jury, the Honorable

James M. Moody, United States District Judge presiding.

       At the conclusion of the evidence presented by the parties on July 17, 2013, the United

States sought leave of Court to voluntarily dismiss Count 13 of the Superseding Indictment

against the Defendant, which was granted.

       The issues having been duly tried, and after deliberating thereon, the jury returned a

verdict on July 19, 2013. The jury found the Defendant guilty of Count 3 of the Superseding

Indictment, knowingly and intentionally distributing approximately one half pound of marijuana

on or about August 4, 2009, in violation of 21 U.S.C. § 841. The jury announced to the Court,

and to the parties, that they were unable to reach a verdict on Counts 10, 11, and 15 of the

Superseding Indictment.

       IT IS THEREFORE CONSIDERED, ORDERED AND ADJUDGED that a mistrial

should be, and is, declared in this cause as to Counts 10, 11, and 15 of the Superseding

Indictment and the jury is discharged from further consideration.

       IT IS FURTHER CONSIDERED, ORDERED AND ADJUDGED that the case is

scheduled for re-trial as to these charges on Monday, September 9, 2013.              .

       Dated this 22nd day of July, 2013.

                                                     _________________________________
                                                     UNITED STATES DISTRICT JUDGE
